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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION

DONALD BEST,                                                                      PLAINTIFF
ADC #151745

v.                                  5:19CV00224-JM-JTK

BRENT COX, et al.                                                              DEFENDANTS

                                           ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney. After a review of those proposed findings and

recommendations, and the timely objections received thereto, as well as a de novo review of the

record, the Court adopts them in their entirety. Accordingly,

       IT IS, THEREFORE, ORDERED that:

       1.      Defendants’ Motion for Summary Judgment (Doc. No. 29) is GRANTED, and

Plaintiff’s Complaint is DISMISSED with prejudice.

       2.      Plaintiff’s Motions for Summary Judgment (Doc. Nos. 25, 39) are DENIED.

       3.      Plaintiff’s Motion for Video (Doc. No. 38) is DENIED as moot.

       4.      Plaintiff’s request for a hearing (Doc. No. 47) is DENIED.

       An appropriate Judgment shall accompany this Order.

       IT IS SO ORDERED this 9th day of November, 2020.



                                            _________________________________
                                            JAMES M. MOODY, JR.
                                            UNITED STATES DISTRICT JUDGE



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